              Case 4:25-cr-00035-AWA-RJK                      Document 1-1              Filed 05/12/25            Page 1 of 1 PageID# 9

                                                                      REDACTED
    JS 45 (11/2002)
 Criminai Case Cover Sheet                                                                                                      U.S. District Court

    Place of Offense:                                       Under Seal: Yes □      No                      Judge Assigned:
    City:     EDVA                       Superseding Indictment:                                           Criminal Number

    County/Parish:                       Same Defendant:                                                   New Defendant

                                         Magistrate Judge Case Number:
                                         Search Warrant Case Number:

L                                        R 20/R 40 from District of
Defendant Information:

 Juvenile: Yes D             No S        FBI#:
     Defendant Name:           MATTHEW PAUL TAYLOR
                                                                          Alias Name(s):            a/k/a “Matt Taylor
                                                                          a/k/a “Matthew Wolfe
                                                                                                      >9




                                                                          a/k/a “Matt Wolfe
                                                                                               99




 Address:                Fairborn, OH 45234
 Employment:
    Birth Date:       1977        SS#: xxx-xx-4525 Sex: M         Race:                 Nationality;                  Place of Birth:

    Height:                  Weight:             Hair:                    Eyes:                     Scars/Tattoos:

 Interpreter: Yes □             No ^ List Language and/or dialect:
Location Status;
 Arrest Date:

    □ Already in Federal Custody as of:           on;



    □ Already in State Custody                           □ On Pretrial Release                               ^ Not in Custody
    □ Arrest Warrant Requested                           □ Fugitive                                          ^ Summons Requested
    D Arrest Warrant Pending                             □ Detention Sought                                  D Bond

Defense Counsel Information:

Name:                                            □ Court Appointed
 Address:                                        □ Retained

 Telephone:                                      □ Public Defender

                                                 □ Office of Federal Public Defender should not be appointed due to conflict of interest
                                                 □ CJA attorney:
U.S. Attorney Information:

AUSA Therese N. O’Brien                                                      Telephone No. 757-591-4000               Bar #:

                Complainant Agency, Address & Phone Number or Person & Title:

 FBI SA Keysha Bailey, 757-455-0100
                U.S.C. Citations;
Set 1       18U.S.C. §§ 1343 and 2                                    Wire Fraud                                                Felony   Counts 1-6
Set 2       18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. §                  Asset Forfeiture
            2461(c)
